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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

 MARTIN J. WALSH,                              )
 SECRETARY OF LABOR,                           )
 U.S. DEPARTMENT OF LABOR,                     )
                                               )
                                Plaintiff,     )       CIVIL ACTION FILE
                                               )       NO. 4:22-cv-3246
        v.                                     )
                                               )
 PACKERS SANITATION SERVICES,                  )
 INC., LTD.                                    )
                                               )
                                Defendant.     )

                          DECLARATION OF JUSTIN UPHOLD

        I, Justin Uphold, declare under penalty of perjury, as prescribed in 28 U.S.C.

 § 1746, that the following is true and correct:

        1.      I am the Planning and Reporting Coordinator (PRC) for the Midwest

 Region of the United States Department of Labor, Wage and Hour Division’s Regional

 Office. I am also an investigator assigned to investigate the Defendant’s compliance with

 the child labor provisions of the Fair Labor Standards Act (“FLSA”). As part of my duties,

 I oversee the strategic planning of all directed cases for the Region. I am also a member of

 the Wage and Hour Divisions National Planning Team, where I contribute, plan, and

 evaluate several national-level initiatives that include the investigation of violations under

 the FLSA’s child labor provisions. Part of this duty is to work with leadership to ensure

 child labor violations are captured and recorded accurately by all nine of the Midwest’s

 District Offices.

        2.      I began as a Wage and Hour Investigator in the Grand Rapids District Office

 in April 2016. I conducted numerous multi-unit child labor investigations over my five




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 years as an investigator. I have also assisted other investigators in investigating, citing, and

 reporting child labor violations. I also conducted investigations of employers under various

 other laws that the Wage and Hour is charged with enforcing, including the FLSA. In June

 of 2021, I became the Planning and Reporting Coordinator.

         3.      The statements made herein are based on my training and experience, my

 personal knowledge, observations made during the execution of the warrant involving

 Defendant (as discussed below), my interaction with other Wage and Hour Investigators

 while conducting this investigation, as well as conversations with representatives and

 employees of the Defendant in this matter.

 The Defendant

         4.      Packers Sanitation Services, Inc., Ltd., which may also operate as or do

 business as Packers Sanitation Services, LLC, (“PSSI”) is a cleaning and sanitation

 company that provides contract work at meat processing facilities.

         5.      On August 24, 2022, the Wage and Hour Division initiated an investigation

 of PSSI to determine whether its practices complied with the FLSA, including its child

 labor provisions.

 Executing the Warrants

         6.      On October 13, 2022, Wage and Hour executed a search warrant at

 approximately 8:00 a.m. at the PSSI Corporate Headquarters located at 3681 Prism Lane,

 Kieler, Wisconsin. I was assigned to serve the warrant on behalf of Wage and Hour. District

 Direction Kristin Tout, Assistant District Director Jenna Carte, and several Special Agents

 from the Office of Inspector General accompanied me on the warrant service.




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         7.      Upon entry to the facility, Wage and Hour personnel met with PSSI Vice

 President Amanda Vaassen to discuss the contents of the warrant, as well as to provide the

 evidence preservation letters. The search warrant included all records for all of PSSI’s 400+

 locations.

         8.      After the initial execution of the warrant at PSSI’s Kieler, Wisconsin

 headquarters, Wage and Hour and PSSI negotiated an initial document production or

 review of fifty (50) facilities at PSSI.

         9.      Additionally, on October 13, 2022, I provided analysis and support for all

 other Wage and Hour teams serving search warrants on other PSSI locations. Part of these

 duties was to assist with the collection of information through real time support to the field,

 providing general data assistance or the live processing of leads.

 Review of Records

         10.     On October 17, 2022, I started a review of the records provided by PSSI of

 the fifty agreed-upon locations. PSSI agreed to provide the records electronically, via a

 secured Dropbox folder. Dropbox is a cloud-based storage solution used to share large

 amounts of data via the internet. PSSI first uploaded several gigabytes of electronic records,

 including reports pertaining to the locations that were served with search warrants. These

 records included employee personnel files, copies of the employee handbook, safety guide,

 as well as liability waivers for various services. The guides, handbook, and waivers were

 often unsigned, and included repeated documents.

         11.     Once I began to review these records, it was clear that there was an

 extensive amount of information that would require an intensive manual review, as some

 of the employee files were over 500 pages. As the records were reviewed, it was unclear



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 where some files started or stopped in the employee personnel file. This made it difficult

 to determine what was repeat information (like handbook language) or actual employee

 information. However, I went through the records to ensure they included the relevant

 information needed for an in-depth review, such as the employee’s first and last name,

 email address, address, emergency contacts, and references.

         12.     Due to the extensive nature of the records, and the small section that has

 been reviewed, it is clear that Wage and Hour will need to conduct additional cross-

 references for the other forty-seven locations with documents Wage and Hour will need to

 subpoena from school districts.

         13.     As of right now, we have received over 225 GBs of total documentation

 from PSSI. A document such as the employee personnel file is generally around 500 pages

 long and about 150 MB of data. To estimate the total volume of pages of records to be

 reviewed, of just the fifty agreed-upon facilities, using the personnel files as a metric, there

 is the digital equivalent of approximately 100,000,000 pages of records in the 225 GBs of

 records.

         14.     On October 19, 2022, I began a cursory review of the forty-seven (47) other

 PSSI locations. I have concerns that PSSI might be employing minors at these other

 locations. For example:

         a.      I reviewed photographs from clock in records at eight plants. Based on the

        appearance of some of these workers, I have concerns that some of these workers

        are minors.

         b.      I reviewed hiring documents for employees at eight plants and have noticed

        birth dates seem inconsistent.



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       c.     While spot checking records, I noticed one employee’s age was returned at

       129-years-old when their social security number was searched in CLEAR.



       Executed on this 3rd day of November, 2022.



                                           _________________________________
                                           Justin Uphold
                                           Planning and Reporting Coordinator
                                           Wage and Hour Division
                                           U.S. Department of Labor




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